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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

 In re:                                       )
                                              )        U.S. District Court
 Frictionless World, LLC                      )        Civil Action No. 19-CV-03583-CMA
                                              )
 Debtor.                                      )
                                              )
                                              )
                                              )
 Frictionless World, LLC,                     )
                                              )        Case No. 19-18459 MER
 Plaintiff,                                   )        Chapter 11
                                              )
 v.                                           )        Adversary Proceeding No. 19-01282 MER
                                              )
 Frictionless, LLC; Changzhou Inter Universal )
 Machine & Equipment Co., Ltd.; Li Zhixiang; )
 Changzhou Zhong Lian Investment Co., Ltd.; )
 Serena Li; and Frank Li,                     )
                                              )
 Defendants.                                  )


                    STATUS REPORT OF DEFENDANTS MINGSU LI AND JUN LI


          Defendants Mingsu Li, a/k/a Serena Li, and Jun Li, a/k/a Frank Li (collectively, “Mr. and

Mrs. Li”), respectfully submit the following status report, in compliance with this Court’s Order,

dated May 27, 2020 [Docket No. 11].

          1.         On May 27, 2020, this Court entered its Order Granting Motion to Withdraw

Automatic Reference to the Bankruptcy Court [Docket No. 10] (the “Reference Order”),

whereby the Court granted Mr. Li’s and Mrs. Li’s Motion to Withdraw Automatic Reference to

the Bankruptcy Court, etc. [Docket No.1] (the “Motion”). In the Reference Order, the Court

withdrew the automatic reference of this matter to the Bankruptcy Court as to Mr. and Mrs. Li,

and remanded the matter to the Bankruptcy Court to consider and determine all pre-trial matters.




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        2.     This matter involves claims asserted against Mr. and Mrs. Li by Frictionless

World, LLC (the “Debtor”), which is the Debtor in a bankruptcy case, United States Bankruptcy

Court for the District of Colorado (the “Bankruptcy Court”), Case No. 19-18459-MER (the

“Bankruptcy Case”), filed under Chapter 11 of the United States Bankruptcy Code.

        3.     On September 29, 2020, the Bankruptcy Court entered an Order Approving

Appointment of Trustee [Bankruptcy Case Docket No. 721], whereby the Bankruptcy Court

appointed Tom H. Connolly as Chapter 11 Trustee for the Debtor (the “Trustee”), effective

October 1, 2020. Upon his appointment, the Trustee assumed control over all of the Debtor’s

property and litigation claims within its bankruptcy estate, including the claims asserted against

Mr. and Mrs. Li in this matter. See 11 U.S.C. §§ 323, 1106.

        4.     Undersigned counsel for Mr. and Mrs. Li have negotiated with the Trustee a

settlement agreement (the “Settlement Agreement”), which, upon approval by the Bankruptcy

Court, would resolve all claims against Mr. and Mrs. Li in this matter and result in a stipulated

dismissal with prejudice of this matter. The Trustee has filed a motion with the Bankruptcy

Court, under Fed. R. Bankr. P. 9019, to approve the Settlement Agreement (the “Settlement

Motion”), on November 19, 2020, under Bankruptcy Case Docket No. 803. Any objections to

the Settlement Motion are due on December 10, 2020.

        5.     If the Settlement Motion is granted, then the parties anticipate that a stipulation

for dismissal of this matter with prejudice will be filed shortly thereafter.

        6.     Based on the foregoing, Mr. and Mrs. Li respectfully request that this Court allow

them to submit a further status report not later than six (6) months from the date hereof to inform

the Court of the status of the Bankruptcy Case, if this matter has not been dismissed before that

time.



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             Reaffirmation of Special Appearance and Reservation of All Rights

       Mr. and Mrs. Li hereby reaffirm and incorporate by reference their Notice of Special

Appearance and Reservation of All Rights (the “Notice”), as set forth in the Motion. Nothing

herein shall constitute or be construed as a waiver of any rights or defenses set forth in the Notice,

all of which Mr. and Mrs. Li expressly reserve.

DATED: November 20, 2020.

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                                               Attorneys for Mingsu Li, a/k/a Serena Li; and
                                               Jun Li, a/k/a Frank Li




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                              CERTIFICATE OF SERVICE

      I hereby certify that on November 20, 2020, I electronically filed the foregoing STATUS
REPORT OF DEFENDANTS MINGSU LI AND JUN LI with the Clerk of Court using the
CM/ECF system which will send notification of such filing, to the following e-mail addresses
and was deposited in the U.S. Mail, postage paid and addressed to:

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                                                  s/ Roberta Neal




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